Case 5:10-cv-00834-DDP-DTB        Document 160    Filed 03/03/14      Page 1 of 3 Page ID
                                        #:6598
                      UNITED STATES COURT OF APPEALS
                                                                          FILED
                             FOR THE NINTH CIRCUIT
                                                                         MAR 03 2014
                                                                         MOLLY C. DWYER, CLERK
                                                                          U.S. COURT OF APPEALS




 JO ANN FAY,                                     No. 12-55478

               Plaintiff - Appellant,
                                                 D.C. No. 5:10-cv-00834-DDP-DTB
  v.                                             U.S. District Court for Central
                                                 California, Riverside
 COSTCO WHOLESALE                                                          RECEIVED
 CORPORATION, a Washington                             E
                                                 MANDATE           CLERK, U.S. DISTRICT COURT
 corporation and PATRICIA HANSEN,
 "Tish", an individual,                                                      3/3/2014

               Defendants - Appellees.
                                                                CENTRAL DISTRICT OF CALIFORNIA
                                                                                DLM
                                                                   BY: ___________________ DEPUTY
         The judgment of this Court, entered February 06, 2014, takes effect this

 date.

         This constitutes the formal mandate of this Court issued pursuant to Rule

 41(a) of the Federal Rules of Appellate Procedure.

                                                  FOR THE COURT:
                                                  Molly C. Dwyer
                                                  Clerk of Court

                                                  Jessica F. Flores
                                                  Deputy Clerk
Case 5:10-cv-00834-DDP-DTB       Document 160    Filed 03/03/14    Page 2 of 3 Page ID
                                       #:6599
                                                                           FILED
                            NOT FOR PUBLICATION                             FEB 06 2014

                                                                        MOLLY C. DWYER, CLERK
                     UNITED STATES COURT OF APPEALS                      U.S. COURT OF APPEALS



                             FOR THE NINTH CIRCUIT

  JO ANN FAY,                                    No. 12-55478

               Plaintiff - Appellant,            D.C. No. 5:10-cv-00834-DDP-
                                                 DTB
   v.

  COSTCO WHOLESALE                               MEMORANDUM*
  CORPORATION, a Washington
  corporation; PATRICIA HANSEN,
  “Tish”, an individual,

               Defendants - Appellees.


                    Appeal from the United States District Court
                       for the Central District of California
                    Dean D. Pregerson, District Judge, Presiding

                            Submitted February 4, 2014**
                               Pasadena, California

 Before: SILVERMAN and HURWITZ, Circuit Judges, and VINSON, Senior District
 Judge.***



        *
              This disposition is not appropriate for publication and is not precedent
 except as provided by 9th Cir. R. 36-3.
        **
              The panel unanimously concludes this case is suitable for decision
 without oral argument. See Fed. R. App. P. 34(a)(2).
        ***
              The Honorable C. Roger Vinson, Senior District Judge for the U.S.
 District Court for the Northern District of Florida, sitting by designation.
Case 5:10-cv-00834-DDP-DTB        Document 160      Filed 03/03/14    Page 3 of 3 Page ID
                                        #:6600



       Jo Ann Fay appeals the district court’s grant of summary judgment to Costco

 Wholesale Corporation on her California Fair Employment and Housing Act (FEHA)

 and California Labor Code retaliation and discrimination claims. We have jurisdiction

 under 28 U.S.C. § 1291 and affirm.

       1. The district court did not err in finding no triable issues of fact on Fay’s

 retaliation and discrimination claims.      None of the episodes identified by Fay

 established retaliation or discrimination under California law.

       2. Nor did the district court err in finding no triable issues of fact regarding

 Fay’s claim that Costco violated the FEHA by failing to accommodate her disabilities.

 The evidence is undisputed that Costco repeatedly engaged in California’s legally

 mandated interactive process and reasonably accommodated Fay’s restrictions.

       3. The district court also correctly concluded that there was no genuine issue

 of material fact whether Fay’s termination was an act of illegal retaliation or disability

 discrimination. Fay was terminated for grabbing a customer and then lying about the

 incident during Costco’s subsequent investigation.

       AFFIRMED.




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